      Case 2:09-cr-02035-EFS    ECF No. 344   filed 12/28/10   PageID.2004 Page 1 of 7




 1

 2

 3

 4

 5
                                UNITED STATES DISTRICT COURT
 6                             EASTERN DISTRICT OF WASHINGTON

 7    UNITED STATES OF AMERICA,
                                                NO. CR-09-2035-EFS-1
 8                     Plaintiff,                   CR-09-2035-EFS-2
 9                v.
                                                PRELIMINARY ORDER OF
10    RICKY S. WAHCHUMWAH (1) and               FORFEITURE
      VICTORIA M. JIM (2),
11
                       Defendants.
12

13
          On November 16 and December 17, 2010, a Federal Rule of Criminal
14
     Procedure 32.2 forfeiture hearing occurred in the above-captioned matter.
15
     Timothy Ohms appeared on the U.S. Attorneys Office’s (USAO) behalf.
16
     Defendants    Ricky   S.   Wahchumwah     and    Victoria     M.   Jim   were   present,
17
     represented by Adam Moore and Thomas Zeilman respectively.                          After
18
     reviewing the submitted material and relevant authority and considering
19
     the trial and forfeiture hearing testimony,1 evidence, and oral argument,
20
     the Court is fully informed and enters this preliminary forfeiture Order.
21

22

23        1
               Defendants testified and also called Raymond Colfax, Sandra Jim,
24
     Jim Wahchumwah, Jr., Donna Sohappy, Vikki Wahchumwah, and Tracy Hames.
25
     The USAO called U.S. Fish and Wildlife Service Special Agent Robert
26
     Romero.

     ORDER ~ 1
      Case 2:09-cr-02035-EFS   ECF No. 344   filed 12/28/10   PageID.2005 Page 2 of 7




 1   A.   Standard

 2        Pursuant to Rule 32.2,

 3        [a]s soon as practical after a verdict. . . on any count in an
          indictment or information regarding which criminal forfeiture
 4        is sought, the court must determine what property is subject
          to forfeiture under the applicable statute. If the government
 5        seeks forfeiture of specific property, the court must determine
          whether the government has established the requisite nexus
 6        between the property and the offense. . . .

 7   Fed. R. Crim. P. 32.2(b)(1)(A); see also 28 U.S.C. § 2461(c).                Here, the

 8   applicable statutes are the Bald and Golden Eagle Protection Act (BGEPA),

 9   16 U.S.C. § 668b(b), and Lacey Act, 16 U.S.C. § 3374(a).                    The BGEPA

10   states:

11        All bald or golden eagles, or parts, nests, or eggs thereof,
          taken, possessed, sold, purchased, bartered, offered for sale,
12        purchase, or barter, transported, exported, or imported
          contrary to the provisions of this subchapter, or of any permit
13        or regulation issued hereunder, and all guns, traps, nets, and
          other equipment, vessels, vehicles, aircraft, and other means
14        of transportation used to aid in the taking, possessing,
          selling, purchasing, bartering, offering for sale, purchase,
15        or barter, transporting, exporting, or importing of any bird,
          or part, nest, or egg thereof, in violation of this subchapter
16        or of any permit or regulation issued hereunder shall be
          subject to forfeiture to the United States.
17
     16 U.S.C. § 668b(b).      The Lacey Act similarly provides:
18
               (1) All fish or wildlife or plants imported, exported,
19        transported, sold, received, acquired, or purchased contrary
          to the provisions of section 3372 of this title (other than
20        section 3372(b) of this title), or any regulation issued
          pursuant thereto, shall be subject to forfeiture to the United
21        States notwithstanding any culpability requirements for civil
          penalty assessment or criminal prosecution included in section
22        3373 of this title.

23             (2)   All vessels, vehicles, aircraft, and other equipment
          used to aid in the importing, exporting, transporting, selling,
24        receiving, acquiring, or purchasing of fish or wildlife or
          plants in a criminal violation of this chapter for which a
25        felony conviction is obtained shall be subject to forfeiture
          to the United States if (A) the owner of such vessel, vehicle,
26        aircraft, or equipment was at the time of the alleged illegal


     ORDER ~ 2
      Case 2:09-cr-02035-EFS    ECF No. 344   filed 12/28/10    PageID.2006 Page 3 of 7




 1        act a consenting party or privy thereto or in the exercise of
          due care should have known that such vessel, vehicle, aircraft,
 2        or equipment would be used in a criminal violation of this
          chapter, and (B) the violation involved the sale or purchase
 3        of, the offer of sale or purchase of, or the intent to sell or
          purchase, fish or wildlife or plants.
 4
     16 U.S.C. § 3374(a).
 5
     B.   Application
 6
          The parties agree that all forfeiture items (FIs) identified by the
 7
     USAO in its Chart (ECF No. 318, attach. A) are forfeitable, except for
 8
     the following:     4, 17, 22, 39, 45, 46, 53, 58, 60, 61, 65, 67, and 69.
 9
     Also, since submitting its forfeiture chart, the USAO has withdrawn its
10
     forfeiture request for FIs 17 and 67.                Accordingly, FI 17 shall be
11
     returned to Raymond Colfax, and FI 67 shall be returned to Defendants.
12
          The Court enters its findings as to the contested FIs in the table
13
     below:
14

15            FI               Description                          Court Findings
16        4        3 full sets of bald eagle                   Not forfeited: must be
                   tails (1 mature and 2                       returned to Defendants
17                 immature)
18        22       37 golden eagle and 8 bald                  Forfeited in part: 27
                   eagle detached feet sets                    golden eagle feet sets
19                                                             and 6 bald eagle sets

20                                                             Not forfeited in part:
                                                               10 golden eagle feet sets
21                                                             and 2 bald eagle feet
                                                               sets
22
          39       Golden eagle wing set (42                   Not forfeited: must be
23                 feathers from an immature                   returned to Defendants
                   golden eagle)
24        45       Golden eagle wing set (40                   Not forfeited: must be
                   feathers from mature golden                 returned to Defendants
25                 eagle)
26        46       Golden eagle wing set (35-40                Not forfeited:   must be


     ORDER ~ 3
      Case 2:09-cr-02035-EFS   ECF No. 344   filed 12/28/10    PageID.2007 Page 4 of 7




 1               feathers from mature golden                  returned to Defendants
                 eagle)
 2
         53      37 wing feathers (golden and                 Forfeited in part:    26
 3               bald eagle wing feathers)                    wing feathers
 4                                                            Not forfeited: remainder
                                                              must be returned to
 5                                                            Defendants
 6       58      Briefcase containing plumes                  Forfeited:   fifty percent

 7                                                            Not forfeited: fifty
                                                              percent must be returned
 8                                                            to Defendants

 9       60      Blue-center bustle                           Not forfeited: must be
                                                              returned to Defendants
10       61      Plastic Tupperware-style box                 Not forfeited: one set
                 containing tail plumes                       bound with black and
11                                                            white tape and twenty
                                                              plumes with white tape
12
                                                              Forfeited: remainder
13
         65      Tail feather sets and loose                  Not forfeited: 15 golden
14               tail feathers                                eagle sets and 5 bald
                                                              eagle sets
15
                                                              Forfeited:   remainder
16
         69      Orange-center bustle                         Not forfeited: must be
17                                                            returned to Defendants

18
     In summary, the Court directs forfeiture of FIs 1-3, 5-16, 18-21, 22
19
     (twenty-seven golden eagle sets and six bald eagle sets), 23-38, 40-44,
20
     47-52, 53 (twenty-six wing feathers), 54-57, 58 (fifty percent of
21
     plumes), 59, 61 (remainder as identified in table above), 62-64, 65
22
     (remainder as identified in table above), 66, 68, and 70-78. See Fed. R.
23
     Crim. P. 32.2(b)(2)(A).         The Court finds the USAO established the
24
     requisite nexus between these listed FI assets and Defendants' unlawful
25
     conduct.    This Order serves as the preliminary forfeiture Order and it
26


     ORDER ~ 4
      Case 2:09-cr-02035-EFS    ECF No. 344   filed 12/28/10   PageID.2008 Page 5 of 7




 1   is entered “sufficiently in advance of sentencing to allow the parties

 2   to suggest revisions or modifications before the order becomes final”

 3   under Rule 32.2(b)(4).       Id. at 32.2(b)(2)(B).

 4   C.    Conclusion

 5         Accordingly, IT IS HEREBY ORDERED:

 6         The U.S. Attorney General or its designee is authorized to seize FIs

 7   1-3, 5-16, 18-21, 22 (twenty-seven golden eagle sets and six bald eagle

 8   sets), 23-38, 40-44, 47-52, 53 (twenty-six wing feathers), 54-57, 58

 9   (fifty percent of plumes), 59, 61 (remainder as identified in table

10   above), 62-64, 65 (remainder as identified in table above), 66, 68, 70-78

11   and   to   conduct   any   discovery     proper     in    identifying,   locating,   or

12   disposing of the property subject to forfeiture, in accordance with Rule

13   32.2(b)(3). The non-forfeited FIs must be returned to Defendants, absent

14   FI 17, which shall be returned to Raymond Colfax.

15         Applicable proceedings to comply with statutes governing third party

16   rights, including giving notice of this Order, may occur.                  Notice will

17   be posted on the official government internet site (www.forfeiture.gov)

18   for at least 30 days.           Id. at 32.2(b) (incorporating Suppl. R. for

19   Admiralty     or     Maritime     Claims      and        Asset   Forfeiture     Actions

20   G(4)(a)(iv)(C)).      To the extent practicable, direct written notice may

21   also be provided to any person who reasonably appears to be a potential

22   claimant with standing to contest the forfeiture in the ancillary

23   proceeding.    Id. at 32.2(6)(A).

24         Any person, other than the above-named Defendants, asserting a legal

25   interest in the above-listed property may, within sixty days of the first

26   posting of notice, or receipt of notice, whichever is earlier, petition


     ORDER ~ 5
      Case 2:09-cr-02035-EFS   ECF No. 344   filed 12/28/10   PageID.2009 Page 6 of 7




 1   the Court for a hearing without a jury to adjudicate the validity of his

 2   alleged interest in the above-listed property, and for an amendment of

 3   the Preliminary Order of forfeiture, pursuant to Rule 32.2(c) and 21

 4   U.S.C. § 853(n) as incorporated by 16 U.S.C. § 668(b) and 28 U.S.C. §

 5   2461.    Any petition filed by a third party asserting an interest in the

 6   above-listed property shall be signed by the petitioner under penalty of

 7   perjury and shall set forth the nature and extent of the petitioner's

 8   right, title, or interest in said property, the time and circumstances

 9   of the petitioner's acquisition of the right, title or interest in said

10   property, and any additional facts supporting the petitioner's claim and

11   the relief sought. Discovery may be conducted in accordance with the

12   Federal Rules of Civil Procedure upon a showing that such discovery is

13   necessary or desirable to resolve factual issues.                 The United States

14   shall have clear title to the above-listed property following the Court's

15   disposition of all third-party interests, or, if none, following the

16   expiration of the period provided in Rule G(5), as incorporated by 16

17   U.S.C. § 668(b) and 28 U.S.C. § 2461, for the filing of third-party

18   petitions.

19           Pursuant to Rule 32.2(b)(4), this Preliminary Order of Forfeiture

20   is final as to Defendants at the time of sentencing, or at any time

21   before sentencing if Defendants consent, and is made part of the sentence

22   and included in the judgment.       The Court retains jurisdiction to enforce

23   this Order, and to amend it as necessary, pursuant to Rule 32.2(e).

24   ///

25   //

26   //


     ORDER ~ 6
      Case 2:09-cr-02035-EFS     ECF No. 344      filed 12/28/10   PageID.2010 Page 7 of 7




 1         IT IS SO ORDERED. The District Court Executive is directed to enter

 2   this Order and to provide a copy to counsel and the U.S. Probation

 3   Office.

 4         DATED this 28th       day of December 2010.

 5

 6                                   s/Edward F. Shea
                                        EDWARD F. SHEA
 7                               United States District Judge

 8   Q:\Criminal\2009\2035.prelimin.forfeit.wpd

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     ORDER ~ 7
